            Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 1 of 25




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    J.R., a minor, by and through his parents and    :
    natural guardians, Mr. R.R. and Ms. N.R.,        :
    husband and wife, and Mr. R.R. and Ms.           :
    N.R., husband and wife, in their own right,      :
                                                     :
                        Plaintiffs,                  :   Civil Action No. 2:21-cv-1088
                                                     :
    v.                                               :
                                                     :
    GREATER LATROBE SCHOOL                           :
    DISTRICT et al.,                                 :
                                                     :
                      Defendants                     :
                                                     :



           BRIEF IN SUPPORT OF MOTION TO DISMISS OF DEFENDANT,
              GREATER LATROBE SCHOOL DISTRICT, PURSUANT TO
     RULES 12(B)(1) AND 12(B)(6) OF THE FEDERAL RULES OF CIVIL PROCEDURE

          Defendant, Greater Latrobe School District (hereinafter the “District”), by and through its

attorneys, Andrews & Price, LLC, files the following Brief in Support of Motion to Dismiss

Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.

BACKGROUND

          Plaintiffs initiated this matter by the filing of a Complaint on August 16, 2021. As required

by Rules 12(b)(1) and Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant assumes

Plaintiffs’ allegations to be true, and views all facts in the light most favorable to them. Viewed

according to these standards, the facts affecting Plaintiffs’ claims against the Defendant are

construed as follows for purposes of resolving the Motion to Dismiss.1


1
  In accordance with the standard of review, the “facts” relevant to this Motion to Dismiss are
taken from the Plaintiffs’ Complaint. By no means does the District concur with this rendition of
the facts other than for the purpose of resolving this motion.
                                                    1
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 2 of 25




       Plaintiff J.R. is a minor child citizen of the Commonwealth of Pennsylvania, residing in

the City of Latrobe, Pennsylvania, and at all times relevant hereto was a student in the Greater

Latrobe School District. (Complaint, hereinafter “C,” ¶ 2). Plaintiffs Mr. R.R. and Ms. N.R. are

the parents and natural guardians of minor child J.R., and at all times relevant hereto, Plaintiff J.R.

resided with his parents, R.R. and N.R., in the Greater Latrobe School District. (C ¶ 3). Defendants

Cary James Lydic and David F. Galando are adult individuals residing in the Commonwealth of

Pennsylvania and at all times relevant herein were employed by Defendant District. (C ¶¶ 5, 6).

Defendants R.S. and W.S. are minor children citizens of the Commonwealth of Pennsylvania,

residing in the City of Latrobe, Pennsylvania, and at all times relevant hereto were students in the

Greater Latrobe School District. (C ¶¶ 7, 8).

       During his freshman year, J.R. was accepted into the Greater Latrobe Junior Varsity

Wrestling program, where he was coached primarily by Defendants Lydic and Galando. (C ¶ 16).

Shortly after J.R. began the 2019-2020 wrestling season, he began witnessing various acts of

alleged hazing by several other members of the wrestling team. The alleged hazing frequently

consisted of one of the older wrestlers, Defendant R.S., hitting or smacking a younger teammate

with a wooden stick that was kept near the practice gym. (C ¶ 17). Plaintiffs allege tha J.R. was

personally attacked for the first time in December of 2019, when Defendant R.S., J.R.’s ninth-

grade teammate, struck J.R. with the wooden stick on the back of the leg. A scuffle between the

two ensued, but the boys remained friends, or so J.R. thought. (C ¶ 18).

       On January 8, 2020, after returning from winter break, J.R. had finished class and was

preparing to participate in wrestling practice. Since his ninth-grade classes ended at 2:45pm,

Plaintiff J.R. arrived at the gymnasium at approximately 2:50pm. (C ¶ 19). Plaintiff J.R. put on his

gym shorts, t-shirt and socks, and walked to the auxiliary gym at the high school to wait for



                                                  2
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 3 of 25




practice. As he sat on the floor in the auxiliary gym getting ready to put on his shoes, Plaintiff J.R.

was allegedly tackled by his ninth-grade, minor-child teammate, S.B., and then pinned to the

ground – facedown - by S.B., Defendant W.S., and Defendant R.S. (C ¶ 20). While Plaintiff J.R.

was held down and immobilized, S.B. allegedly retrieved some rope and/or a net from an unknown

location and bound the feet and hands of Plaintiff J.R. Defendant W.S. remained sitting on the

now-tied-up Plaintiff J.R. and was joined in physically restraining Plaintiff J.R. by S.B. (C ¶ 21).

By this time, Defendant R.S. had retrieved “the stick” referenced above. R.S. allegedly began

forcefully striking J.R. with the stick, beating him several times on the back of the legs. Defendant

R.S. then took the stick and rammed it into the buttocks of Plaintiff J.R. approximately five times.

In doing so, R.S. allegedly forcefully and purposefully used the stick to penetrate the anus of J.R.

by forcing J.R.’s shorts into his anus with the stick. (C ¶ 22).

       The three assailants – S.B., Defendant W.S., and Defendant R.S. – were allegedly laughing

and joking during the entirety of this sexual assault on the minor plaintiff, J.R. Defendant R.S.

admitted in his juvenile delinquency proceeding that he took advantage of his physical ability and

knew he “had control over” his victims, and in particular, Plaintiff J.R. (C ¶ 23). The incident only

ended when J.R. was finally able to wretch free from the rope and push his assailants off of him.

The assailants then allegedly proceeded to attempt to tie up J.R. for a second time. J.R. managed

to fight them off and gain control of the weapon used in the assault. (C ¶ 24). At that point,

Defendant Galando appeared, saw the rope and/or netting and questioned the students regarding

the incident. The assailants denied any wrongdoing. (C ¶ 25).

       The Complaint alleges that, on the date of the assault, and on every practice-day preceding

the incident, from 2:45 pm until 3:30pm, the ninth-grade wrestlers, consisting of approximately

fifteen (15) minor participants, were completely unsupervised. (C ¶ 26). It is further alleged that



                                                  3
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 4 of 25




the Defendants Lydic and Galando left the minors unsupervised due to the fact that the seventh

and eighth-grade students did not finish classes until 3:15pm and therefore wrestling practice did

not commence until 3:30pm. The ninth-grade group of wrestlers allegedly had no adult supervision

whatsoever from the time they left their classrooms at 2:45pm until the coaches arrived to begin

practice at 3:30pm. This group of fourteen and fifteen-year-old boys were left to their own devices

for 45 minutes every day. (C ¶ 27).

        Plaintiffs allege that the District and Defendants Lydic and Galando either knowingly

allowed these minor students to be unsupervised or were negligently unaware that students were

being left unattended. Plaintiffs further allege that Defendants were manifestly negligent in their

supervision of the minor students entrusted to their care by their unknowing parents, and of

Plaintiff J.R. in particular. (C ¶ 28). The Complaint further alleges that the District was also

negligent in failing to have anti-hazing policy and procedures in place, or if it did, failed to enforce

them and/or to properly train and instruct Defendants Lydic and Galando on identifying and

eliminating sports-related hazing. (C ¶ 29).

        Plaintiffs allege that Defendants Lydic and Galando were not only aware of the hazing that

was occurring on their team, they also knew of the existence and location of the weapon used to

perpetrate it (i.e., the wooden stick). (C ¶ 30). Defendant Lydic, after witnessing one of the hazing

incidents, allegedly told the offending student to be careful of the cameras located near the practice

gym. (C ¶ 31).

        Plaintiffs further allege that Defendants Lydic and Galando were not only negligent in the

supervision of their athletes but were grossly negligent in their failure to report these assaults, and

thereby emboldened the athletes to continue by failing to penalize them for same. They allegedly

created a climate of fear and intimidation, and a team culture of betrayal (C ¶ 32). Noteworthy



                                                   4
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 5 of 25




from the allegations of Paragraph 32 of the Complaint is Plaintiffs’ admission that the alleged

hazing incidents were never reported to the District’s administration or School Board.

       Defendants allegedly abdicated their supervisory and caretaker responsibilities. Children

were left completely unattended, despite the fact that the coaches knew that hazing was occurring

and that students were physically assaulting other students. (C ¶ 33).

       According to the Complaint, the assault committed by the three assailants has left Plaintiff

J.R. traumatized, and its long-term effects are unknown. Plaintiff J.R. has suffered, and continues

to suffer, psychological trauma, embarrassment and humiliation. He was deprived of an after-

school athletic program that should have improved his self-confidence and physical and mental

well-being, but did just the opposite. (C ¶ 34). Plaintiff J.R. must now pursue proper psychiatric

treatment. (C ¶ 35). J.R. has suffered and continues to suffer pain, suffering and humiliation, which

no minor child should have to endure. (C ¶ 36).

       Plaintiffs’ Complaint consists of five counts asserted against the District. Under Count I

based on a state-created danger theory, Plaintiffs assert the District knew or should have known

(1) that peer-on-peer hazing was occurring in its facilities and during District-sponsored sports and

activities, (2) that Defendants Lydic and Galando were engaging in inappropriate hazing towards

its students, and that they were failing to protect students from hazing by other peers, and (3)

should have known of Plaintiff J.R.’s vulnerability when he and other students were left

unsupervised. (C ¶¶ 42-44). Plaintiffs claim that Defendant District, based on this knowledge,

should have ensured all middle school students were properly supervised by staff who would keep

them safe. (C ¶ 45). Defendant District, knowing that its own staff were engaging in and/or

ignoring inappropriate behavior, should have anticipated that Plaintiff J.R. would have been

traumatized by said behavior. (C ¶ 46).



                                                  5
           Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 6 of 25




          Plaintiffs allege that Defendant District used its authority to create the opportunity for harm

that otherwise would not have existed by failing to supervise its students, by failing to hire, instruct

and train wrestling coaches who would act appropriately and in the best interest of its students,

and by subsequently failing to ensure Plaintiff J.R.’s safety. (C ¶ 51) (emphasis added). Defendant

District’s actions were predicated on a failure to act in light of a known risk. (C ¶ 52) (emphasis

added).

          Under Count II, Plaintiffs assert a claim of negligence per se based on the District’s alleged

violation of the Piazza Antihazing Law.2 (C ¶ 58). Under Count III, Plaintiffs assert a claim of

negligence. (C ¶¶ 68-73). Under Count IV, Plaintiffs assert a claim of assault and battery. (C ¶¶

74-77). Under Count V, Plaintiffs assert a claim of intentional infliction of emotional distress.3 (C

¶¶ 78-85). Plaintiffs assert claims for attorneys’ fees and costs pursuant to Counts II and V. (C,

Wherefore clauses pp. 13, 16).

    I.    STANDARD OF REVIEW
Rule 12(b)(1) Standard

          The plaintiff bears the burden of establishing the existence of subject matter jurisdiction

under Rule 12(b)(1) of the Federal Rules of Civil Procedure. See Kehr Packages, Inc. v. Fidelcor,

Inc., 926 F.2d 1406, 1409 (3d Cir. 1991); see also Const. Party of Pa. v. Aichele, 757 F.3d 347,

357 (3d Cir. 2014) (“A motion to dismiss for want of standing is ...properly brought pursuant

to Rule 12(b)(1) because standing is a jurisdictional matter.”). A defendant may challenge the

existence of subject matter jurisdiction in one of two fashions: it may attack the complaint on its

face or it may attack the existence of subject matter jurisdiction in fact, relying on evidence beyond

the pleadings. See Gould Elecs. Inc. v. United States, 220 F.3d 169, 176 (3d Cir. 2000); Mortensen


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    18 Pa. C.S. § 2804; 2805
3
    Count V is incorrectly listed as a duplicative “Count IV” within Plaintiffs’ Complaint.
                                                    6
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 7 of 25




v. First Fed. Sav. & Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977). Where a defendant attacks a

complaint as deficient on its face, “the court must consider the allegations of the complaint as

true.” Mortensen, 549 F.2d at 891. “In deciding a Rule 12(b)(1) facial attack, the court may only

consider the allegations contained in the complaint and the exhibits attached to the complaint;

matters of public record such as court records, letter decisions of government agencies and

published reports of administrative bodies; and ‘undisputably authentic’ documents which the

plaintiff has identified as a basis of his claims and which the defendant has attached as exhibits to

his motion to dismiss.” Medici v. Pocono Mountain Sch. Dist., No. 09-CV-2344, 2010 WL

1006917, at *2 (M.D. Pa. Mar. 16, 2010). However, when a motion to dismiss attacks the existence

of subject matter jurisdiction in fact, “no presumptive truthfulness attaches to plaintiff's

allegations,” and “the trial court is free to weigh the evidence and satisfy itself as to the existence

of its power to hear the case.” Mortensen, 549 F.2d at 891. This case falls into the former category.

Rule 12(b)(6) Standard

       Federal Rule of Civil Procedure 12(b)(6) states that a complaint may be dismissed for

“failure to state a claim upon which relief can be granted.” Fed.R.Civ.P. 12(b)(6). In order to

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to “state a claim to relief that is plausible on its face.” Iqbal, 129 S.Ct. at 1949 (quoting Twombly,

550 U.S. at 570). In Iqbal, the Supreme Court outlined a two-part analysis that district courts must

conduct when reviewing a complaint challenged under 12(b)(6). See Flower v. UPMC Shadyside,

578 F.3d 203, 210–211 (3d Cir. 2009).




                                                  7
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 8 of 25




        In Fowler, this Court held that, following Iqbal, motions to dismiss for failure to state a

claim in civil cases should be subject to a two-part analysis.4 Fowler, 578 F.3d at 210–211. First,

the court should separate the factual and legal elements of a claim; it must accept any well-pleaded

facts as true but may disregard any legal conclusions. Id. Second, the court must determine whether

the well-pleaded facts are sufficient to show that the plaintiff has a “plausible claim for relief.” Id.

at 211. “In other words, a complaint must do more than allege the plaintiff's entitlement to relief.

A complaint has to ‘show’ such an entitlement with its facts.” Id. If the well-pleaded facts do no

more than permit the court to infer the mere possibility of misconduct, the complaint has not

“shown” that the pleader is entitled to relief.5 Id.

        The Court recognized in Fowler that both Twombly and Iqbal specifically repudiated the

earlier standard of Conley v. Gibson, 355 U.S. 41, 45-46 (1957), which permitted dismissal of a

complaint for failure to state a claim only if “it appear[ed] beyond doubt that the plaintiff can prove

no set of facts in support of his claim which would entitle him to relief.” Fowler, 578 F.3d at 210.

        A complaint must do more than allege the plaintiff’s entitlement to relief, but instead must

“show” such entitlement with its facts in order to survive a motion to dismiss. Id. Therefore,

“[d]etermining whether a complaint states a plausible claim for relief will . . . be a context-specific

task that requires the court to draw on its judicial experience and common sense.” McTernan v.

City of York, 577 F.3d 521, 530 (3d Cir. 2009) (quoting Iqbal, 129 S.Ct. at 1950).

        Although this Court must accept all well pleaded facts in the complaint as true, legal

conclusions are not “entitled to the assumption of truth.” Iqbal, 129 S. Ct. at 1950 (citation



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  In Burtch v. Milberg Factors, Inc., 662 F.3d 212, 221 (3d Cir. 2011), cert. denied, 132 S. Ct.
1861 (2012), the Court added the step of first identifying the elements of the plaintiff’s cause of
action.
5
  Twombly and Iqbal are not satisfied by the presence of any factual allegations, but only by factual
allegations sufficient to support a plausible, rather than simply conceivable, claim.
                                                   8
           Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 9 of 25




omitted). Because Fed. R. Civ. P. 8 (a)(2) requires a showing, rather than a blanket assertion, of

entitlement to relief, courts evaluating the viability of a complaint must look beyond conclusory

statements and determine whether the complaint has alleged enough facts to state a claim to relief

that is plausible on its face. Bell Atlantic v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 1974, 167

L. Ed. 2d 929, 949 (2007).

          Indeed, it is not sufficient to allege mere elements of a cause of action; instead a complaint

must allege facts “to raise a right to relief above the speculative level.” Umland v. Planco

Financial Services, Inc., 542 F.3d 59, 64 (3d Cir. 2008) (quoting Philips v. County of Allegheny,

515 F.3d 224, 233 (3d Cir. 2008)). A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d

868 (2009). Examination of the context of the claim, including the underlying substantive law is

therefore necessary in order to properly assess plausibility. Renfro v. Unisys Corp., 671 F.3d 314,

321 (citing In re Insurance Brokerage Antitrust Litigation, 618 F.3d 300, 320, n. 18 (3d Cir.

2010)).

 II.      ARGUMENT

    A. PLAINTIFFS, MR. R.R. and MS. N.R., FAIL TO STATE ANY CLAIMS IN THEIR
       OWN RIGHT.

          As a general rule, “a litigant may only assert his own constitutional rights or immunities.”

United States v. Raines, 362 U.S. 17, 22 (1960); see also McGowan v. Maryland, 366 U.S. 420,

429 (1961) (quoting Raines); O’Malley v. Brierley, 477 F.2d 785, 789 (3d Cir. 1973) (quoting

Raines and McGowan). “[O]ne cannot sue for the deprivation of another’s civil rights.” O’Malley,

477 F.2d 789. “Only persons actually deprived of their individual civil rights can redress such




                                                    9
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 10 of 25




rights. Id. at 789 n. 2 (quoting United States v. Biloxi Mun. Sch. Dist., 219 F.Supp. 691, 694 (S.D.

Miss. 1963), aff’d, 326 F.2d 237 (5th Cir. 1964)).

        A parent, not acting in a representative capacity, lacks standing to sue for the deprivation

of the civil rights of his or her children. Rabold v. “The Syndicate” Monroe Cty., Pa. Charter, No.

3:06-cv-2474, 2007 WL 43988, at *1 (M.D. Pa. Jan. 4, 2007); Tyree v. Smith, 289 F. Supp. 174,

175 (E.D. Tenn. 1968). Despite identifying themselves in the caption as having claims against the

District in their own right, Plaintiffs Mr. R.R. and Ms. N.R. do not assert any individual claims

throughout the entirety of the Complaint. All allegations within Plaintiffs’ Complaint concern

claims of harm exclusively asserted by J.R, and not by Mr. R.R. or Ms. N.R. Plaintiffs have failed

to state any individual claims with respect to all Counts of Plaintiffs’ Complaint. Therefore, all

claims asserted by Mr. R.R. and Ms. N.R. in their own right must be dismissed.

    B. PLAINTIFFS FAIL TO STATE A CLAIM OF A “STATE CREATED DANGER”
       THEORY UPON WHICH RELIEF CAN BE GRANTED.

        The state-created danger doctrine is one theory used to assert a claim for harm to one’s

bodily integrity. See Phillips v. Cnty. of Allegheny, 515 F.3d 224, 235 (3d Cir.2008) (recognizing

that “[i]ndividuals have a constitutional liberty interest in personal bodily integrity that is protected

by the Due Process Clause of the Fourteenth Amendment,” but explaining that the State lacks an

affirmative obligation to protect its citizens from harm to that interest unless an exception to that

principle, such as the state-created danger doctrine, applies).

        The general rule under the Due Process Clause is that the state has no affirmative duty to

protect its citizens from harms caused by other private citizens. DeShaney v. Winnebago Cnty.

Dep't of Soc. Servs., 489 U.S. 189, 196, 109 S.Ct. 998, 103 L.Ed.2d 249 (1989). In DeShaney, the

Supreme Court recognized one exception to that rule for situations in which the state takes physical

custody of a person (through, e.g., incarceration or institutionalization) and thus creates a “special

                                                   10
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 11 of 25




relationship” obligating it to protect the citizen. Morrow v. Balaski, 719 F.3d 160, 167 (3d

Cir.2013). The Third Circuit has concluded that the special relationship theory does not apply to

children attending public schools. See D.R. by L.R. v. Middle Bucks Area Vocational Technical

Sch., 972 F.2d 1364, 1371–72 (3d Cir.1992) (en banc).

        DeShaney also alluded to another exception which imposes a similar duty to protect when

“the state's own actions create the very danger that causes the plaintiff's injury.” Kneipp v. Tedder,

95 F.3d 1199, 1201 (3d Cir.1996). To assert a claim under the state-created danger doctrine,

plaintiffs must show that:

        (1) the harm ultimately caused was foreseeable and fairly direct; (2) a state actor
        acted with a degree of culpability that shocks the conscience; (3) a relationship
        between the state and the plaintiff existed such that the plaintiff was a foreseeable
        victim of the defendant's acts ... and (4) a state actor affirmatively used his or her
        authority in a way that created a danger to the citizen or that rendered the citizen
        more vulnerable to danger than had the state not acted at all. Bright v.
        Westmoreland Cnty., 443 F.3d 276, 281 (3d Cir.2006)(emphasis added).

        The fourth element of the state-created danger test requires an affirmative act on the part

of a state official to place a plaintiff in danger. Bright, 443 F.3d at 281. If allegations in a complaint

are “at their core, [ ] omissions, not commissions—inactions rather than actions,” the fourth prong

cannot be met. Phillips, 515 F.3d at 236. The Third Circuit has cautioned that while “the line

between action and inaction is not always easily drawn,” courts should be wary of claims which

attempt to transform “[a]ny and all failures to act ... into an affirmative exercise of authority.”

Morrow, 719 F.3d at 178. Courts must assess at this prong whether state officials “created or

increased the risk” themselves, or whether they simply “might have done more” to protect

individuals from harm. Id. at 179.

        This Court has analyzed this standard in the context of a claim involving student-on-student

sexual assault where parents claimed that the school had failed to adequately train staff and failed



                                                   11
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 12 of 25




to take appropriate remedial measures to prevent such harm. See MDB v. Punxsutawney Christian

Sch., 386 F. Supp. 3d 565 (W.D. Pa. 2019). This Court granted the school’s motion to dismiss the

state-created danger claim holding:

               The Third Circuit has repeatedly rejected state-created danger claims
       involving peer harassment or violence, even when school officials allegedly knew
       of the dangerous conditions ultimately resulting in injury to the plaintiffs, when
       those officials did not affirmatively act to create the danger. See [Morrow at 179];
       Brown v. Sch. Dist. of Phila., 456 F. App'x 88, 90 n.5 (3d Cir. 2011) (holding that
       school's failure to expel or punish a violent student is not an affirmative act); D.R.
       by L.R. v. Middle Bucks Area Vo. Tech. Sch., 972 F.2d 1364, 1370 (3d Cir. 1992)
       (holding that school's failure to adequately remediate known physical and sexual
       misconduct by students is not an affirmative act). MDB v. Punxsutawney Christian
       Sch., 386 F. Supp. 3d 565, 589 (W.D. Pa. 2019).

       In Brown v. Sch. Dist. of Philadelphia, 456 F. App’x 88 (3d Cir. 2011), the Third Circuit

upheld a dismissal of a state created danger claim. In Brown, the plaintiff, a special needs student,

was sexually assaulted by students who improperly entered the school auditorium. Id. at 89. The

plaintiff brought a state created danger claim, based upon the allegations the school did not provide

her with an assistant or refused to discipline or expel certain students. Id. However, the District

Court dismissed the claim on the basis the plaintiff could not establish the fourth element – that no

state affirmatively acted to create the danger which led to her assault, or to make her more

vulnerable to it. Id. at 91. On appeal, the Third Circuit affirmed the dismissal and stated the, “lack

of action perhaps contributed in some way to tragic consequences for Brown and her family, but

the School District's lack of affirmative action is, nonetheless, fatal to Brown's § 1983 claim.” Id.

at 92. See Lockhart v. Willingboro High School, 170 F. Supp. 3d 722, 732 (holding that pursuant

to the state created danger doctrine, there can be no liability because the defendants did not foster

or promote the assault to occur).

       As described above, Plaintiffs’ state created danger claim is entirely based on the District’s

alleged failure to act by “failing to supervise its students, by failing to hire, instruct and train

                                                 12
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 13 of 25




wrestling coaches who would act appropriately and in the best interest of its students, and by

subsequently failing to ensure Plaintiff J.R.’s safety.” (C ¶ 51) (emphasis added).6 Plaintiffs claim

that “Defendant District’s actions were predicated on a failure to act in light of a known risk. (C ¶

52) (emphasis added).

       Thus, Plaintiffs do not allege that the District affirmatively used its authority in the way

required in order to satisfy the fourth prong of a state created danger theory. See Morrow, 719 F.3d

160 (3d Cir. 2013) (holding that school district failure to expel a student did not establish that

school officials affirmatively created or enhanced a danger to bullied students and merely restating

the school officials’ inaction as an affirmative failure to act did not alter the passive nature of the

alleged conduct). As a result, Plaintiffs have failed to state a claim upon which relief can be granted

with respect to this claim and Count I of Plaintiffs’ Complaint should be dismissed.

    C. PLAINTIFFS FAIL TO STATE A VIABLE CLAIM OF NEGLIGENCE AGAINST
       THE DISTRICT.

       The Pennsylvania Political Subdivision Tort Claims Act (“PPSTCA”) provides in relevant

part that “no local agency shall be liable for any damages on account of any injury to a person or

property caused by any act of the local agency or an employee thereof or any other person.” 42

Pa.C.S.A. § 8541. However, the PPSTCA waives sovereign immunity for certain negligent acts of

an agency or its employees including claims arising from:

       “Conduct which constitutes an offense enumerated under section 5551(7) (relating
       to no limitation applicable) if the injuries to the plaintiff were caused by actions or
       omissions of the Commonwealth party which constitute negligence.” 42 Pa.C.S.A.
       § 8542(b)(9).




6
  While Plaintiffs assert that Defendants Lydic and Galando engaged in inappropriate hazing
towards its students, the factual allegations of Plaintiffs’ Complaint do not describe any affirmative
acts on their part and are limited to allegations of a failure to act.
                                                  13
           Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 14 of 25




           In other words, in order for this exception to the PPSTCA to apply, the Plaintiffs must

demonstrate that the District’s alleged acts or omissions were the proximate cause of J.R.’s sexual

assault.

           A finding of negligence depends on whether a reasonable person should have foreseen the

likelihood or risk of harm to the person injured and on whether the harmful consequences could

reasonably have been foreseen and prevented by the exercise of reasonable care. Printed Terry

Finishing Co., Inc. v. City of Lebanon, 247 Pa. Super. 277, 372 A.2d 460 (1977); Lambert v. PBI

Industries, 244 Pa. Super. 118, 366 A.2d 944 (1976). Almost all accidents can be avoided if the

special manner of their occurrence could have been foreseen. However, a defendant's duty of care

is not based on hindsight. 2 Summ. Pa. Jur. 2d Torts § 20:41 (2d ed.) (citing Fuller v. Pennsylvania

R. Co., 371 Pa. 330, 89 A.2d 795, 34 A.L.R.2d 820 (1952); Blake v. Fried, 173 Pa. Super. 27, 95

A.2d 360 (1953).

           The United States District Court of Eastern Pennsylvania has addressed the issue of

foreseeability of student-on-student sexual assault in its decision in Reichert v. Pathway Sch., 935

F. Supp. 2d 808, 818 (E.D. Pa. 2013). Reichert concerned the case of a student who was repeatedly

sexually abused by an older student while on school premises. The Court addressed the issue of

whether this harm was foreseeable to the District holding that:

           “[f]oreseeability exists if there is an awareness on the part of the state actors that
           rises to [the] level of actual knowledge or “an awareness of risk that is sufficiently
           concrete to put the actors on notice of the harm.” Phillips v. Cnty. of Allegheny, 515
           F.3d 224, 238 (3d Cir.2008). Put another way, at the time of its state action, the
           District must have had sufficient reason to be aware of the risk that the harm might
           occur.

                   The District's actions in placing [the victim] at [the special education
           school] were not taken with sufficient notice of harm. When the decision was made,
           the District was not aware of a concrete risk that [the victim] might be sexually
           assaulted on [...] school grounds. In fact, its understanding was to the contrary: [the
           special education school] had been approved by the state as an alternative school

                                                     14
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 15 of 25




        for children with special education needs. The District's previous experience with
        [the special education school] had not resulted in any problems, and it had no
        knowledge of any previous sexual assaults that had occurred at [the special
        education school]. It was unforeseeable that [the victim’s] experience while
        attending [the special education school] would diverge so radically from the
        experience of others.

Reichert v. Pathway Sch., 935 F. Supp. 2d 808, 818–19 (E.D. Pa. 2013) (emphasis added).

        Based on this standard, the alleged harm to J.R. by way of sexual assault perpetrated was

not foreseeable to the District. Plaintiffs fail to allege that District administrators or the District’s

Board of Directors were aware of any alleged incidents of sexual assault prior to J.R.’s alleged

assault. Throughout the Complaint, Plaintiffs vaguely intimate that District personnel, Defendants

Galando and Lydic, were aware of hazing activities, without specifically identifying the persons

who were actually told about specific hazing incidents before J.R.’s alleged assault. More

importantly, there are no allegations that any reports were made to the District’s administration or

to the Board of Directors of alleged hazing activities and/or student-on-student sexual assaults,

prior to the incident involving Plaintiff, J.R.

        Throughout the Complaint, Plaintiff allege: (1) that Defendant Galando walked in after J.R.

was being hazed, asked what was going on, and was told nothing about the incident (C ¶ 25); (2)

that Defendants Galando and Lydic knowingly left the students unsupervised (C ¶ 28); (3) that

Defendants Galando and Lydic were aware of the hazing and knew the existence and location of

the wooden stick (C ¶ 30); and (4) that after witnessing one of the hazing incidents, Defendant

Lydic told the offending student to be careful of the cameras located near the practice gym (C ¶

31).

        Again, absent from all of these allegations is any assertion that District personnel were

aware of any hazing prior to J.R.’s alleged assault. Under the standard for foreseeability outlined

in the Reichert case above, the District was not on notice of J.R.’s potential for being the victim of

                                                   15
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 16 of 25




sexual assault as the District’s duty of care cannot be based on hindsight. Accordingly, Plaintiffs

have failed to allege the essential element of foreseeability for their negligence claim. Because

Plaintiffs have failed to sufficiently demonstrate a claim for negligence based on J.R.’s alleged

sexual assault, the sexual assault exception to the PPSTCA does not apply and the District, as a

local agency, is immune to this claim.

       Plaintiffs’ negligence claims should also be dismissed because they cannot, as a matter of

law, establish the requisite element of causation. “To prove causation, a demonstration that the

breach of duty was both the proximate cause and actual cause of injury was required.” Eckroth v.

Pennsylvania Elec., Inc., 12 A.3d 422, 427 (Pa. Super. Ct. 2010). A plaintiff must establish more

than that the purportedly negligent act is “one of the happenings in a series of events leading up to

an injury,” as “[e]ven if the requirement of actual causation is satisfied, there remains the issue of

proximate or legal cause.” Id. (citation omitted).

       An act is a proximate cause of an injury if it is “a wrongful act which was a substantial

factor in bringing about the plaintiff's harm.” Id. (concluding that a company's negligence was

excused where individual's “extraordinary breach” of safety measures was “not reasonably

foreseeable as a normal” consequence of negligence); see also Hall v. Millersville Univ., 400 F.

Supp. 3d 252, 273 (E.D. Pa. 2019). Where “a myriad” of “matters” other than the defendant's

conduct have a “far greater effect” in bringing about an injury, even the conduct of a negligent

defendant will not be a “substantial factor in producing the harm.” Heeter v. Honeywell Int'l Inc,

706 F. App'x 63, 67 (3d Cir. 2017).

       Based on the allegations of Plaintiffs’ Complaint, any physical harm suffered by J.R. is

directly attributable only to his fellow students, S.B. and Defendants W.S. and R.S. With respect

to the District, Plaintiffs contend only that it failed to intervene to stop the actions of independent



                                                  16
          Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 17 of 25




third parties. As a result, the District could not have been the legal, proximate cause of J.R.’s

alleged injuries which Plaintiffs attribute to the conduct of three independent individuals.

         Relatedly, the alleged conduct of J.R.’s teammates constitutes a superseding cause that, as

a matter of law, precludes liability on the part of the District. “In determining whether an

intervening force is a superseding cause, the test is whether the intervening conduct was so”

extraordinary or outrageous that it could not have been reasonably foreseeable. Powell v.

Drumheller, 653 A.2d 619, 623 (Pa. 1995); see also Van Buskirk v. Carey Canadian Mines, Ltd.,

760 F.2d 481, 495 (3d Cir. 1985); Gabriel v. Giant Eagle, Inc., 124 F. Supp. 3d 550, 565 (W.D.

Pa. 2015) (“The Pennsylvania Supreme Court held that the act of a third person in committing an

intentional tort or crime is a superseding cause.”); Restatement (Second) of Torts § 448.

         Plaintiffs allege that S.B. and Defendants W.S. and R.S. committed the intentional tort of

assault and battery upon J.R. leading to the harm alleged under of his claim of negligence. 7 The

conduct of S.B. and Defendants W.S. and R.S. is therefore a superseding cause of the harm to J.R.

as a matter of law. As a result, Plaintiffs have also failed to allege the essential element of

proximate cause for a negligence claim.

         Lastly, to prove negligence under Pennsylvania law, a plaintiff must establish that “the

defendant had a duty to conform to a certain standard of conduct.” Pyeritz v. Commonwealth, 613

Pa. 80, 32 A.3d 687, 692 (2011). Here, Plaintiffs assert that the District owed a duty of care to the

Plaintiffs by way of the District’s “special relationship” with its students to ensure they are safe

and have their emotional and physical well-being protected while on school premises. (C ¶ 71). As

discussed above, the Third Circuit has rejected the special relationship theory as applying to

children attending public schools. See D.R. by L.R. v. Middle Bucks Area Vocational Technical


7
  Plaintiffs also assert a claim of assault and battery against the District. The District is immune to such claims for
reasons discussed below.

                                                           17
         Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 18 of 25




Sch., 972 F.2d 1364, 1371–72 (3d Cir.1992) (en banc). Therefore, Plaintiffs have failed to allege

a sufficient basis for a duty of care owed from the District to J.R. necessary for their claim of

negligence.

        Because Plaintiffs have failed to sufficiently allege a claim for negligence based on J.R.’s

alleged sexual assault, the sexual assault exception to the PPSTCA does not apply and the District,

as a local agency, is immune to this claim. Plaintiffs have therefore failed to state a claim upon

which relief can be granted against the District, and Count III of Plaintiffs’ Complaint must be

dismissed.

    D. PLAINTIFFS FAIL TO STATE A VIABLE CLAIM OF NEGLIGENCE PER SE
       AGAINST THE DISTRICT.

        A party is negligent per se when they have violated a statute designed to protect the public

harm. Schemberg v. Smicherko, 85 A.3d 1071, 1074 (Pa. Super. 2014). To establish negligence

per se, a plaintiff must satisfy four criteria: 1) the purpose of the statute must be, at least in part, to

protect the interest of a group of individuals, as opposed to the public generally; 2) The statute or

regulation must clearly apply to the conduct of the defendant; 3) The defendant must violate the

statute or regulation; and 4) The violation of the statute or regulation must be the proximate cause

of the plaintiff's injuries. Id.

        Plaintiffs base their negligence per se claim on an alleged violation of the Piazza

Antihazing Law. Specifically, they allege violations of the sections of the law which prohibit

Organizational and Institutional Hazing. 18 Pa. C.S. §§ 2804; 2805. Under these statutes, an

organization or institution is liable if it “intentionally, knowingly or recklessly promotes or

facilitates” hazing or aggravated hazing as defined by 18 Pa. C.S. §§ 2802; 2803.

        The question of the type of conduct sufficient to trigger liability under the organizational

or institutional hazing statutes of the Piazza Antihazing Law was recently addressed by the United

                                                    18
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 19 of 25




States District Court of the Middle District of Pennsylvania in its decision in Jean v. Bucknell U.,

4:20-CV-01722, 2021 WL 1516467 (M.D. Pa. Apr. 16, 2021). Jean v. Bucknell U. involved a

claim of negligence per se pursuant to the Piazza Antihazing Law brought by a student who had

been injured during a fraternity initiation ritual involving alcohol consumption.

        The Court ultimately determined that Bucknell University’s conduct did not rise to the

level of intentional, knowing, or reckless facilitation or promotion of the hazing noting several

factors including: 1) Bucknell’s asserted conduct did not facilitate or promote any incident of

hazing; 2) the plaintiff did not allege that Bucknell knew about the hazing, that Bucknell approved

it, or in any way promoted or funded it; and 3) the plaintiff did not contend that Bucknell actively

ignored a plaintiff's reports of hazing in a way that resulted in future hazing. Id. at *8.

       The Court also noted that even if the facilitation or promotion element could be established,

the Complaint had not alleged facts showing it was intentional, knowing, or reckless as only

information even suggesting that Bucknell might have had notice of hazing was an incident

occurring over ten years prior to the hazing of the plaintiff. The Court noted that the Plaintiff did

not report any hazing to Bucknell. The Court therefore granted Bucknell's motion to dismiss the

claim for negligence per se. Id.

       Similarly here, Plaintiffs fail to allege that the District actively facilitated or promoted any

hazing. Though Plaintiffs assert that the District had knowledge of the hazing, they fail to describe

how the District was actually made aware of this hazing and whether this knowledge was gained

prior to the incident involving J.R. Plaintiffs do not allege that the District promoted or funded the

hazing. Plaintiffs fail to allege that the District had knowledge of any hazing prior to J.R.’s assault.

Plaintiffs do not allege that the hazing was actually reported to the District and that this report was




                                                  19
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 20 of 25




ignored leading to future hazing. Plaintiffs have therefore failed to allege that the District promoted

or facilitated hazing.

        Plaintiffs allegations amount to a mere claim that District personnel failed properly to

supervise students for forty five (45”) minutes every day between the end of the school day and

the arrival of Defendants Lydic and Galando for wrestling practice. (C ¶ 60). Plaintiffs’ allegations

can be at best described as a claim of negligence which, for reasons described above, fail because

the harm to J.R. was not sufficiently foreseeable to the District. In any case, this conduct does not

rise to the level of intentional, knowing, or recklessness necessary to incur liability under the

Piazza Law. By bringing this claim against the District, Plaintiffs are in essence requesting that

this Court impose strict liability upon the District for failing to prevent an incident of hazing before

they had any reason to know that it was likely to occur. The conduct described within Plaintiffs’

Complaint is well below the high standard of intentional, knowing, or reckless conduct required

for liability under the Piazza Antihazing Law.

        Additionally, Plaintiffs fail to allege that J.R. was subjected to hazing or aggravated hazing

as defined by the Piazza Antihazing Law. In order to meet either definition under the statute, the

alleged conduct directed to J.R. by his fellow students must be said to have been done “for the

purpose of initiating, admitting or affiliating [J.R.] into or with [the wrestling team], or for the

purpose of continuing or enhancing [J.R.’s] membership or status in [the wrestling team]. See 18

Pa. C.S. §§ 2802; 2803.

        Plaintiffs do not allege that any of the conduct directed towards J.R. by his fellow students

was for the purpose of initiating, admitting or affiliating him onto the wrestling team nor is it

alleged that this conduct was for the purpose of continuing or enhancing J.R.’s membership or




                                                  20
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 21 of 25




status on the wrestling team. Plaintiffs have therefore failed to allege that J.R. has been subjected

to hazing or aggravated hazing as defined by the Piazza Antihazing Law.

       Accordingly, Plaintiffs have failed to allege a violation of the statute necessary for their

claim of negligence per se. Plaintiffs therefore have failed to state a claim upon which relief can

be granted against the District and Count II of Plaintiffs’ Complaint must be dismissed.

   E. THE DISTRICT IS IMMUNE FROM PLAINTIFFS’ INTENTIONAL TORT
      CLAIMS.

       As discussed above, the PPSTCA provides in relevant part that “no local agency shall be

liable for any damages on account of any injury to a person or property caused by any act of the

local agency or an employee thereof or any other person.” 42 Pa.C.S.A. § 8541. However, the

PPSTCA waives sovereign immunity for certain negligent acts of an agency or its employees. 42

Pa.C.S.A. § 8542(b). Under the PPSTCA, “negligent acts” do not include acts or conduct which

constitutes a crime, actual fraud, actual malice or willful misconduct. Id. at (a)(2).

       As a general rule, a local agency may not be held liable for intentional torts. Id.; Overstreet

v. Borough of Yeadon, 475 A.2d 803, 803-04 (Pa. Super. Ct. 1984); see also Lory v. City of

Philadelphia, 674 A.2d 673, 675-76 (Pa. 1996) (emphasizing that a local agency can only be held

liable for certain negligent acts). Accordingly, school districts are routinely granted immunity on

intentional-tort claims. See, e.g., Klump v. Nazareth Area Sch. Dist., 425 F. Supp. 2d 622, 628

(E.D. Pa. 2004) (invasion of privacy suit); Kessler v. Monsour, 865 F. Supp. 234, 240-41 (M.D.

Pa. 1994) (IIED suit); Petula v. Mellody, 631 A.2d 762, 765 (Pa. Commw. Ct. 1993) (defamation

suit); Pascocciello v. Interboro Sch. Dist., CIV.A.05-5039, 2006 WL 1284964, at *8 (E.D. Pa.

May 8, 2006) (holding that local agencies are immune from the intentional tort claims of

intentional infliction of emotional distress and assault and battery).




                                                 21
            Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 22 of 25




        Under this standard, the District is immune from Plaintiffs’ claims of the intentional torts

of intentional infliction of emotional distress and assault and battery. Plaintiffs have therefore

failed to state a claim upon which relief can be granted against the District with respect to these

claims. As a result, Counts IV and V of Plaintiffs’ Complaint must be dismissed with prejudice.


    F. PLAINTIFFS CANNOT CLAIM ATTORNEY FEES UNDER THEIR STATE LAW
       CLAIMS.

        As stated above, Plaintiffs have requested the award of attorney fees in connection with

their state law claims of negligence, negligence per se and intentional infliction of emotional

distress.

        Pennsylvania adheres to the "American Rule," under which litigants are responsible for

their own counsel fees unless otherwise permitted by express statutory authority. Petow v.

Warehime, 2010 PA Super 95, 996 A.2d 1083 (2010). Plaintiffs have failed to provide, nor does

there exist, express statutory for the award of attorney fees for Plaintiffs’ state law claims. See also

Ramsey v. Summers, 10-CV-00829, 2011 WL 811024, at *3 (W.D. Pa. Mar. 1, 2011) (granting

dismissal of requests for attorney fees based on claims of negligence per se and negligence); Bland

v. Bland, 50 Pa. D. & C.2d 44, 52 (Pa. Com. Pl. 1970) (holding that attorney fees are not

recoverable based on a claim of intentional infliction of emotional distress). Additionally, the

Piazza Antihazing Law, on which Plaintiffs base their claim of negligence per se, does not provide

authority for an award of attorney fees for a violation of the statute.

        Accordingly, Plaintiffs’ claims for attorney fees in connection with its state law claims in

Counts II, III, and V must be dismissed with prejudice.

III.    CONCLUSION
        For the reasons set forth above, the Defendant, Greater Latrobe School District respectfully

requests that the Court find that Plaintiffs have failed to state a claim for which relief can be granted

                                                   22
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 23 of 25




with respect to all counts of Plaintiffs’ Complaint. Accordingly, Plaintiffs’ Complaint must be

dismissed with prejudice. In the alternative, the District respectfully requests that the Court find

that Plaintiffs, Mr. R.R. and Ms. N.R., have failed to state a claim for which relief can be granted

with respect to all counts asserted in their own right. Additionally in the alternative, the District

respectfully requests that the Court find that Plaintiffs have failed to state a claim for which relief

can be granted with respect to any claims for attorney fees as part of Counts II, III, and V of

Plaintiffs’ Complaint.

                                               Respectfully submitted,

                                               ANDREWS & PRICE

                                          By: /s/ Joseph W. Cavrich
                                              Joseph W. Cavrich, Esq.
                                              P.A. I.D. No. 52693
                                              /s/ Salvatore Bittner
                                              Salvatore Bittner, Esq.
                                              PA I.D. No. 322929
                                              1500 Ardmore Boulevard, Suite 506
                                              Pittsburgh, PA 15221
                                              (412) 243-9700
                                              Attorneys for the Defendant




                                                  23
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 24 of 25




                             CERTIFICATE OF COMPLIANCE

       I hereby certify that I have complied with the Court’s Standing Order of January 31, 2020,

which obligated the undersigned counsel to make a good faith effort to meet and confer with

Plaintiff’s counsel before filing the within motion to determine whether any pleading defects were

curable by amendment, thereby obviating part or all of the motion.

                                             /s/ Joseph W. Cavrich
                                             Joseph W. Cavrich, Esq.




                                               24
        Case 2:21-cv-01088-RJC Document 29 Filed 11/01/21 Page 25 of 25




                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 1, 2021, the foregoing was filed electronically. Notice

of this filing will be sent to all parties by operation of the Court’s electronic case filing system and

constitutes service of this filing under Rule 5(b)(2)(E) of the Federal Rules of Civil Procedure.

Parties may access this filing through the Court’s ECF system.




                                                /s/ Joseph W. Cavrich
                                                Joseph W. Cavrich




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